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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                     Plaintiff,

       v.                                        No. 1-23-cv-01599-ABJ-ZMF

BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                    Defendants.


            JOINT NOTICE OF CONSENT TO THE SEC’S MOTION FOR
            LEAVE TO FILE THE PROPOSED AMENDED COMPLAINT

       Pursuant to the Court’s August 13, 2024 Scheduling Order (Dkt. No. 254), Defendants

Binance Holdings Limited, BAM Trading Services Inc., BAM Management US Holdings Inc.,

and Changpeng Zhao, through the undersigned counsel, jointly consent to the SEC’s motion for

leave to file its proposed amended complaint (Dkt. No. 273-2). Defendants intend to move to

dismiss the SEC’s amended claims by November 1, 2024.




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Dated: October 11, 2024                         Respectfully submitted,

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